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     IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                      DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DAVID THOMAS,

             Plaintiff,                CIVIL ACTION FILE
                                       No.: 1:18-cv-03079-MHC
v.

FIRST CONTACT, LLC,

          Defendant.
_________________________/

        JOINT MOTION FOR LEAVE TO APPEAR TELEPHONICALLY
                 AT EARLY PLANNING CONFERENCE


       The Parties file this Joint Motion for Leave to Appear Telephonically at the

Joint Preliminary Report and Discovery Plan Conference, stating the following:

       1.    Plaintiff’s Complaint (Doc. 1) asserts Defendant violated the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. ("TCPA"), the Fair

Debt Collection Practices Act 15. U.S.C. § 1692 and the Georgia Fair Business

Practices Act, O.G.C.A. § 10-1-393, et. Seq. (“GFBPA”).

       2.    Pursuant to Local Rule 16.1 rules 26(f) (Early Planning Conference),

prior to filing the Joint Preliminary Report and Discovery Plan, lead counsel for all

parties are required to confer in person in an effort to settle the case, discuss
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discovery, limit issues, and discuss other matters also addressed in the Joint

Preliminary Report and Discovery Plan.

       3.     Counsel for Plaintiff is located in Winter Park, Florida and Counsel for

Defendant is located in Atlanta, Georgia.

       4.     In order to avoid the time and expenses of traveling and to conserve

resources pending any preliminary settlement negotiations, counsel for Plaintiff and

counsel for Defendant request permission to conduct the Early Planning Conference

telephonically.

       5.     All counsel are experienced federal practitioners and well-versed with

the consumer protection statutes underlying the claims at issue. Additionally,

counsel for all parties have litigated numerous cases together and maintain a

professional relationship. Therefore, counsel for all parties represent that their

telephonic appearance would not hinder or otherwise negatively impact the meeting.

Counsel for Plaintiff, and Counsel for Defendant further represent that they have

filed this Motion based on the belief that a telephonic appearance would be in the

best interest of the parties.

       6.     Counsel for the parties have already started discussing the facts of the

case and feel their negotiations and discussions can continue successfully by

telephone.
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      WHEREFORE, the Plaintiff and Counsel for the Defendant respectfully

requests an Order from this Honorable Court Granting this Unopposed Motion for

Leave to Appear Telephonically at the Early Planning Conference.

                            Rule 3.01 (g) Certification

      Plaintiff’s counsel has conferred with all parties who may be affected by the

relief sought in this Motion and no such party opposes the relief sought herein.

                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned counsel for Plaintiffs certifies

that this document has been prepared in Times New Roman, 14-point font, which is

one of the fonts and point selections approved by the Court in Local Rule 5.1(B).

                          CERTIFICATE OF SERVICE

       I hereby certify that on this the 3rd day of August, 2018, I caused a copy of
the foregoing to be electronically filed with the Clerk of Court using the cm/ecf
system, to all parties of record.

Respectfully submitted,

/s/ Carlos V. Leach                                 /s/Louis G. Fiorilla
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